AO 245B (Rev. 09/17)
                                              3:17-cr-30074-SEM-TSH # 116
                       Judgment in a Criminal Ca.,e
                                                                                              Page 1 of 8
                                                                                                                     FILED
                                                                                                                         E-FILED
                                                                                                          Thursday, 22 July, 2021 06:11:11 PM
                        Sheet l
                                                                                                                Clerk, U.S. District Court, ILCD

                                          UNITED STATES DISTRICT COURT                                                CLERK OF THE COURT
                                                                                                                     ,U.S. DISTRICT COURT
                                                              Central District of Illinois                       C.ENTRAL DISTRICT OF ILLINOIS
                                                                            )
                UNITED STA TES OF AMERICA                                   )      JUDGMENT IN A CRIMINAL CASE
                                   v.                                       )
                                                                            )
                    West Kinioki Mpetshi                                    )
                                                                                   Case Number: 17-30074-001
                                                                            )      USM Number: 22301-026
                                                                            )
                                                                            )       William L. Vig
                                                                                   Defendant's Attorney
                                                                            )
THE DEFENDANT:
• pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
   which was accepted by the court.
liZI was found guilty on count(s)         1s through 30s of the Superseding Indictment
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended                Count
26 USC § 7206(1)                  False Income Tax Returns                                                    1/25/2015                   1s

26 USC § 7206(1)                   False Income Tax Returns                                                   1/28/2016                    2s
26 USC § 7206(2)               Aiding and Assisting in the Preparation and Presentation of False              4/1/2015                     3s
                                Income Tax Returns
        The defendant is sentencea as prov1aea m p·ages 2 through _ _    7 _ _ cit this JUc:lgtnent.         The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

D The defendant has been foWld not guilty on count(s)
liZI Count(s)   1 through 4 of the original Indictment   D   is    5ZI' are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution
the defenclant must notify the court and United States attorney of material clianges in econonuc circumstances.                                       '

                                                                          7/16/2021
                                                                         Date of Imposition of Judgment

                                                                          s/ Sue E. Myerscough
                                                                         S ignarureofJudge     .J

                                                                          SUE E. MYERSCOUGH, U.S. District Judge
                                                                         Name and Title of Judge


                                                                         JWU_2-1_ __ _ _ _
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AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                       Sheet IA
                                                                                                    Judgment-Page   2          of   7
DEFENDANT: We,s~ Kinioki Mpetshi
CASE NUMBER: 17-30074-001

                                           ADDITIONAL COUNTS OF CONVICTION

Title & Section                  Nature of Offense                                              Offense Ended           . Count
26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/13/2016                4s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/23/2016                5s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   3/3/2016                 6s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/22/2015                7s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/17/2016                8s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/14/2015                9s.
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   3/19/2016                10s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/27/2015                11s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/18/2016                12s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/23/2015                13s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   3/20/2016                14s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/3/2015                 15s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   3/16/2016                16s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of    1/24/2015               17s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/7/2016                 18s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/2/2015                 19s
                                  False Income Tax Returns
                                            3:17-cr-30074-SEM-TSH # 116                  Page 3 of 8
 AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                        Sheet IA
                                                                                                    Judgment-Page   2         of   7
 DEFENDANT: West Kinioki Mpetshi
 CASE NUMBER: 17-30074-001

                                            ADDITIONAL COUNTS OF CONVICTION

Title & Section                   Nature of Offense                                             Offense Ended           Count
26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   1/31/2016               20s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   3/1/2015                21s
                                  False Income Tax Returns


26   use § 1206(2)                Aiding and Assisting in the Preparation and Presentation of   2/27/2016               22s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   3/2/2015                23s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   3/26/2016               24s
                                  False Income Tax Returns


26   use § 1206(2)                Aiding and Assisting in the Preparation and Presentation of   2/21/2016               25s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/21/2015               26s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   3/8/2016                27s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   4/1/2016                28s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/21/2015               29s
                                  False Income Tax Returns


26 USC § 7206(2)                  Aiding and Assisting in the Preparation and Presentation of   2/24/2016               30s
                                  False Income Tax Returns
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AO 245B (Rev. 09/17) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                     Judgment -   Page _   _3_   of   7
 DEFENDANT: West Kinioki Mpetshi
 CASE NUMBER: 17-30074-001

                                                               IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:

                   33 months on each of Counts 1s through 30s, all to run concurrently.



     ~ The court makes the following recommendations to the Bureau of Prisons:

      That the defendant be placed in a facility in or near northern Missouri and/or Southern Iowa, as close to his family as
      possible.



     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
            D at                                     D a.m.     D p.m.      on

            D as notified by the United States Marshal.

     ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            D before 2 p.m. on
            !ti'   as notified by the United States Marshal.

            D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:




            Defendant delivered on                                                      to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                          By
                                                                                              DEPUTY UNITED STATES MARSHAL
                                            3:17-cr-30074-SEM-TSH # 116                     Page 5 of 8

  AO 245B (Rev. 09/17) Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                            Judgment-Page   4    of        7
  DEFENDANT: West Kinioki Mpetshi
  CASE NUMBER: 17-30074-001
                                                        SUPERVISED RELEASE
  Upon release from imprisonment, you will be on supervised release for a term of:


              1 year on each of Counts 1s through 30s, all to run concurrently.
  \




 I.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
 4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution. (check if applicable)
 5.     Gi3' You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.     D You must participate in an approved program for domestic violence. (check if applicable)
          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
  Schedule of Payments sheet of this judgment.
         The defendant must comply with the following conditions:
1. The defendant shall not knowingly leave the federal judicial district in which he is approved to reside without the
permission of the Court.

2. The defendant shall report to the probation office in the district to which he is released within 72 hours of release from
custody. The defendant shall report to the probation officer in a reasonable manner and frequency as directed by the
Court or probation officer.

3. The defendant shall follow the instructions of the probation officer as they relate to his conditions of supervision. He
shall answer truthfully the questions of the probation officer as they relate to his conditions of supervision, subject to his
right against self-incrimination.

4. The defendant shall notify the probation officer at least ten days prior to, or as soon as he knows about, any changes in
residence or any time he leaves a job or accepts a job, or any time he changes from one position to another at his
workplace.

5. The defendant shall permit a probation officer to visit him at home between the hours of 6:00 a.m. and 11 :00 p.m., at
his place of employment while he is working, or at the locations of his court-ordered treatment providers. Visits may be
conducted at any time if the probation officer has reasonable suspicion to believe that he is in violation of a condition of
supervised release or if he or a third party has reported that he is unable to comply with a directive of the probation officer
because of illness or emergency.
                                            3:17-cr-30074-SEM-TSH # 116               Page 6 of 8
   AO 245B (Rev. 09/17) Judgment in a Criminal Case
                         Sheet 3A- Supervised Release
                                                                                             Judgment-Page        5       of         7
  DEFENDANT: West Kinioki Mpetshi
  CASE NUMBER: 17-30074-001

                                            ADDITIONAL SUPERVISED RELEASE TERMS
6. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement
officer. This condition does not prevent him from invoking his Fifth Amendment right against self-incrimination.

7. The defendant shall make a meaningful attempt to secure lawful and regular employment, defined as a monthly average
of at least 30 hours per week, unless excused by the Court for schooling, training, or other acceptable reason, such as child
care, elder care, disability, age, or serious health condition.

8. The defendant shall not engage in any employment involving tax preparation sevices while on supervision unless such
employment is first approved by the Court.

9. As long as ordered restitution remains outstanding, the defendant shall provide Probation access to any requested
financial information under his control, including his personal tax returns and, if applicable, his business tax returns.

10. As long as ordered restitution remains outstanding, the defendant shall not open additional lines of credit or incur any
new debts in excess of $500 without prior approval of the Court.

11. The defendant shall not obtain employment, including self-employment, at any place where he will be involved in the
handling or management of cash, credit, tax returns, or other financial instruments, without prior approval of the Court and
without disclosing information regarding his federal conviction to his employer.

12. The defendant shall not knowingly possess a firearm, ammunition, destructive device as defined in 18 U.S.C. § 921(a)
(4), or any object that he intends to use as a dangerous weapon as defined in 18 U.S.C. § 930(g)(2).

13. The defendant shall pay restitution in the amount of $86,601 to the Internal Revenue Service. Upon release from
confinement, he shall make monthly payments of at least 50 percent of his disposable income per month during the entire
term of supervised release or until the restitution obligation is paid in full.




  U.S. Probation Office Use Only
  A U.S . probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
  judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
  Release Conditions, available at: www.uscourts.gov.


  Defendant's Signature                                                                               Date - - - - - - - - -
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AO 2458 (Rev. 09/17)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                          Judgment- Page   - ~6~_ of          7
 DEFENDANT: West Kinioki Mpetshi
 CASE NUMBER: 17-30074-001
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                   JVTA Assessment*                Fine                         Restitution
 TOTALS            $ 3,000.00                   $ 0.00                          $ 0.00                       $ 0.00



 D   The determination ofrestitution is deferred until
                                                       ----
                                                            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned paynient, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                       Total Loss**            Restitution Ordered              Priority or Percentage




TOTALS                               $                                      $



D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the             D fine   D restitution.
      D the interest requirement for the           D fine       D   restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                                                                                           Page 8 of 8
                     Sheet 6 - Schedule of Payments

                                                                                                         Judgment - Page   _7'--_    of        7
DEFENDANT: West Kinioki Mpetshi
CASE NUMBER: 17-30074-001

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     IZl   Lump sum payment of$         3,000.00            due immediately, balance due


            •    not later than                                  , or
                                                                              D F below; or
            •    in accordance with
                                       •    C,
                                                  •    D,
                                                             •    E, or

B    •      Payment to begin immediately (may be combined with            •   c,     •   D,or     D F below); or

C     D Payment in equal          _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ _ over a period of
                          (e.g., months or years), to commence   ____ (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal          _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $                  _ _ _ over a period of
                          (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D Payment during the term of supervised release will commence within _ _ _ _ _ (e.g.,         30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0    Joint and Several

     Defendant and ~o-Defend;mt Name~ and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and correspondmg payee, 1f appropriate.




~    The defendant shall pay the cost of prosecution as ordered in the amount of$74,507.77.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
